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 8                         UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )
                                          )
12                Plaintiff,              )        No. CR 05-00651 CW (BZ)
                                          )
13         v.                             )        ORDER VACATING SETTLEMENT
                                          )        CONFERENCE
14   MICHAEL DOWNEY,                      )
                                          )
15                Defendant.              )
                                          )
16
           IT IS HEREBY ORDERED that the settlement conference
17
     presently scheduled for Tuesday, April 4, 2006 at 9:00 a.m. is
18
     VACATED.
19
     Dated:     March 30, 2006
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21                                          Bernard Zimmerman
                                     United States Magistrate Judge
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